
12 N.Y.2d 735 (1962)
Carmela De Rosa, as Limited Administratrix of The Estate of John P. De Rosa, Deceased, Appellant,
v.
Slattery Contracting Co., Inc., Respondent, et al., Defendant.
Court of Appeals of the State of New York.
Argued October 2, 1962.
Decided October 25, 1962.
Norman Roy Grutman and Jerome T. Orans for appellant.
John P. Carson for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Judgment affirmed, without costs, upon the opinion at the Appellate Division. No opinion.
